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Case:16-08946-BKT13 Doc#:128 Filed:12/16/19 Entered:12/16/19 13:42:35   Desc: Main
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Case:16-08946-BKT13 Doc#:128 Filed:12/16/19 Entered:12/16/19 13:42:35   Desc: Main
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Case:16-08946-BKT13 Doc#:128 Filed:12/16/19 Entered:12/16/19 13:42:35   Desc: Main
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Case:16-08946-BKT13 Doc#:128 Filed:12/16/19 Entered:12/16/19 13:42:35   Desc: Main
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